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          4/12/2022                                   /s/ Alyk L. Oflazian




Without Prejudice to Any Trustee Rights or Remedies

/s/ LeeAne O. Huggins
